     Case 2:17-cv-01975-KJM-CKD Document 17 Filed 08/07/18 Page 1 of 10

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 8                                    UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11    DONNA MARSHALL, individually and                No. 2:17-cv-01975-KJM-CKD
      on behalf of all others similarly situated,
12
                         Plaintiff,
13                                                    ORDER
             v.
14
      FANEUIL, INC., a Delaware corporation;
15    ALJ REGIONAL HOLDINGS, INC., a
      Delaware corporation; and Does 1-10
16    inclusive.
17                       Defendants.
18

19                  Donna Marshall brings this putative class action against a customer service

20   facilitation company for several alleged labor code violations. Defendants Faneuil and ALJ

21   Regional Holdings removed the case to this court. Notice of Removal (“NOR”) ¶ 1, ECF No. 1.

22   Plaintiff moves to remand to Sacramento County Superior Court. Mot., ECF No. 6. Defendants

23   oppose the motion, and plaintiff has replied. Opp’n, ECF No. 8; Reply, ECF No. 9. As explained

24   below, the court GRANTS plaintiff’s motion to remand.

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     Case 2:17-cv-01975-KJM-CKD Document 17 Filed 08/07/18 Page 2 of 10

 1   I.     BACKGROUND
 2                  Plaintiff filed this putative class action in Sacramento County Superior Court on
 3   July 31, 2017, making the following claims: (1) failure to pay overtime wages, California Labor
 4   Code §§ 510 and 1198; (2) failure to pay minimum wages, id. §§ 1182.12, 1194, 1197, 1197.1,
 5   1198; (3) meal period violations, id. §§ 226.7, 512(a), 1198; (4) rest break violations, id.
 6   §§ 226.7, 1198; (5) wage statement penalties and failure to keep payroll records, id. §§ 226(a),
 7   1174(d), 1198; (6) failure to produce employment records, id. §§ 226, 432, 1198.5; (7) failure to
 8   timely pay wages upon termination, id. §§ 201, 202; (8) failure to reimburse business expenses,
 9   id. § 2802; and (9) unfair business practices, Cal. Bus. & Prof. Code § 17200. Mot. 2.
10                  Defendants removed the case to federal court, asserting jurisdiction under basic
11   diversity jurisdiction, 28 U.S.C. § 1332(a), and the Class Action Fairness Act, 12 U.S.C. § 1453
12   (“CAFA”). NOR ¶¶ 1–2.
13                  To support their contention that the amount in controversy exceeds the requisite
14   $75,000 for diversity jurisdiction, defendants point to the complaint, noting “[p]laintiff alleges
15   she earned approximately $16 an hour, that she worked 8–10 hours a day, five days a week . . .
16   from approximately November 2014 to December 2016.” Id. ¶ 13. Defendants rely on these
17   numbers to calculate a total amount in controversy of $85,000. Id. ¶ 19.
18                  To support their contention that the amount in controversy exceeds the requisite
19   $5 million under CAFA, defendants submit the declaration of Faneuil’s Vice President of Human
20   Resources, Elizabeth Veliz. Veliz Decl., ECF No. 1-2. In her declaration, Veliz states “Faneuil
21   has employed more than 2,500 non-exempt, hourly-paid employees in California, of whom over
22   1,500 have been terminated on or after October 2014,” and “the average hourly rate of this group
23   of employees during this period . . . was roughly $12.25 per hour.” Id. ¶ 3. Defendants draw on
24   these numbers to calculate a total amount in controversy of $8,856,375. NOR ¶ 47.
25                  Plaintiff moves to remand, challenging defendants’ calculations. Mot. 4.
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     Case 2:17-cv-01975-KJM-CKD Document 17 Filed 08/07/18 Page 3 of 10

 1   II.       LEGAL STANDARD
 2             A.   Amount in Controversy Generally; Diversity
 3                  A defendant may remove to a federal district court “any civil action brought in a
 4   state court of which the district courts of the United States have original jurisdiction.” 28 U.S.C.
 5   § 1441(a). A federal district court “shall have original jurisdiction of all civil actions where the
 6   matter in controversy exceeds the sum or value of $75,000, exclusive of interest and costs, and is
 7   between—citizens of different States . . . .” 28 U.S.C. § 1332(a). Additionally, CAFA gives
 8   federal courts original jurisdiction over certain class actions only if (1) the class has more than
 9   100 members, (2) any member of the class is diverse from the defendant, and (3) the amount in
10   controversy exceeds $5 million, exclusive of interest and costs. See 28 U.S.C. § 1332(d)(2),
11   (5)(B).
12                  A defendant’s burden of proof as to the amount in controversy for removal
13   purposes initially is lenient. “A defendant seeking to remove a case from state to federal court
14   must file in the federal forum a notice of removal ‘containing a short and plain statement of the
15   grounds for removal.’” Dart Cherokee Basin Operating Co. v. Owens, 135 S. Ct. 547, 549
16   (2014) (quoting 28 U.S.C. § 1446(a)). But the notice of removal “need not contain evidentiary
17   submissions”: A defendant’s “plausible allegation that the amount in controversy exceeds the
18   jurisdictional threshold” can suffice. Id. at 551, 554. But when “a defendant’s assertion of the
19   amount in controversy is challenged . . . both sides submit proof and the court decides, by a
20   preponderance of the evidence, whether the amount-in-controversy requirement has been
21   satisfied.” Id. at 554. The parties may submit evidence outside the complaint including affidavits
22   or declarations or other “summary-judgment-type evidence relevant to the amount in controversy
23   at the time of removal.” Singer v. State Farm Mut. Ins. Co., 116 F.3d 373, 377 (9th Cir. 1997)
24   (citation omitted). When the defendant relies on a chain of reasoning that includes assumptions
25   to satisfy its burden of proof, the chain of reasoning and the underlying assumptions must be
26   reasonable, and not constitute mere speculation and conjecture. Ibarra v. Manheim Inv., Inc., 775
27   F.3d 1193, 1197–99 (9th Cir. 2015).
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     Case 2:17-cv-01975-KJM-CKD Document 17 Filed 08/07/18 Page 4 of 10

 1          B.      CAFA
 2                  Congress enacted CAFA “specifically to permit a defendant to remove certain
 3   class or mass actions into federal court” and intended courts to interpret CAFA “expansively.”
 4   Ibarra, 775 F.3d at 1197. Although as a general rule courts “strictly construe the removal statute
 5   against removal jurisdiction” and apply a “strong presumption against removal,” Gaus v. Miles,
 6   Inc., 980 F.3d 564, 566 (9th Cir. 1992), “no antiremoval presumption attends cases invoking
 7   CAFA,” Dart Cherokee, 135 S. Ct. at 554 (citing S. Rep. No. 109-14, p. 43 (2005) (“[CAFA’s]
 8   provisions should be read broadly with a strong preference that interstate class actions should be
 9   heard in a federal court if properly removed by any defendant.”)). Nonetheless, “[i]f at any time
10   before final judgment it appears that the district court lacks subject matter jurisdiction, the case
11   shall be remanded” to the state court. 28 U.S.C. § 1447(c).
12                  “CAFA’s requirements are to be tested by consideration of real evidence and the
13   reality of what is at stake in the litigation, using reasonable assumptions underlying the
14   defendant’s theory of damages exposure.” Ibarra, 775 F.3d at 1198. Then “the district court
15   must make findings of jurisdictional fact to which the preponderance standard applies.” Dart
16   Cherokee, 135 S. Ct. at 554 (citation omitted). If “the evidence submitted by both sides is
17   balanced, in equipoise, the scales tip against federal-court jurisdiction.” Ibarra, 775 F.3d at 1199.
18   III.   DISCUSSION
19                  To determine the amount in controversy, the court looks first to the complaint.
20   Ibarra, 775 F.3d at 1197. Generally, “the sum claimed by the plaintiff controls if the claim is
21   apparently made in good faith.” St. Paul Mercury Indem. Co. v. Red Cab Co., 303 U.S. 283, 288
22   (1938) (footnote omitted). Here, plaintiff has brought a class action and alleged that the amount
23   in controversy is less than $75,000.00. Compl. ¶ 1. As noted, defendants rely on the complaint
24   and the declaration of its Human Resources Vice President, Elizabeth Veliz, to argue the
25   aggregate amount in controversy is an estimated $85,000 for diversity jurisdiction and $8,856,375
26   for CAFA. NOR ¶¶ 19, 47.
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     Case 2:17-cv-01975-KJM-CKD Document 17 Filed 08/07/18 Page 5 of 10

 1                   In her motion to remand, plaintiff does not provide rebuttal evidence. Instead, she
 2   challenges defendants’ calculations and argues defendants do not meet their burden because they
 3   make assumptions unsupported by evidence. Mot. 2–16. The amounts in controversy reflect
 4   inclusion of a sum of three categories of penalties, discussed below: first with respect to diversity
 5   and second with respect to CAFA.
 6          A.       Basic Diversity Jurisdiction
 7                   1.     Waiting Time Penalties
 8                   In their calculation of waiting time penalties, defendants assume plaintiff would be
 9   entitled to the maximum statutory penalty of $3,840.1 NOR ¶ 16 (using the statutory maximum
10   amount of 30 days under Cal. Labor Code § 203 in its calculation). However, the complaint
11   merely alleges defendant failed to pay plaintiff her wages earned and unpaid within seventy-two
12   hours of leaving as required by § 203; it does not specify, and defendant has not provided
13   evidence to prove, that the wages were never paid or were paid at least 30 days late. See Ruby v.
14   State Farm Gen. Ins. Co., No. C 10-02252 SI, 2010 WL 3069333, at *3 (N.D. Cal. Aug. 4, 2010)
15   (rejecting defendant’s assertion that employees would be entitled to 30 day maximum penalties
16   when complaint made similar allegation and defendants similarly did not provide evidence to
17   support their assumption). Because defendants have not supported this calculation by a
18   preponderance of the evidence but point merely to the complaint’s allegations, the court rejects
19   defendants’ assumption. Cf. Garibay, 539 F. App’x at 764 (rejecting defendants’ assumption that
20   each employee was entitled to maximum statutory penalty where assumption not supported by
21   any evidence). Thus, this court does not consider defendants’ estimate of waiting time penalties,
22   $3,840, as part of the amount in controversy.
23                   2.     Itemized Wage Statement Penalties
24                   To calculate the penalties for non-compliant wage statements, defendants again
25   assume a 100 percent violation rate, calculating a total amount in controversy for this claim of
26   $4,000, the maximum penalty allowed under California Labor Code § 226(e). NOR ¶ 16.
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                $16/hour X 8 hours/day X 30 days = $3,840.
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     Case 2:17-cv-01975-KJM-CKD Document 17 Filed 08/07/18 Page 6 of 10

 1                   Similar to the calculation for wait time penalties, however, this calculation is based
 2   on an assumption that plaintiff will recover the statutory maximum penalty for each pay period,
 3   which is not supported by the evidence defendant presents. See Garibay, 539 F. App’x at 764
 4   (finding assumption of maximum statutory penalty was not supported by evidence and could not
 5   be used to calculate amount in controversy); see also Emmons v. Quest Diagnostics Clinical
 6   Labs., Inc., No. 1:13-cv-0474, 2014 WL 584393, at *5 (E.D. Cal. Feb. 12, 2014) (relying on
 7   precedent rejecting “unsupported use of 100% maximum violation rates”). Defendants have
 8   provided insufficient evidence to meet their burden for the itemized wage statement penalties to
 9   be included in determining the amount in controversy.
10                   3.     Meal and Rest Break Violations
11                   Plaintiff alleges defendants violated the California Labor Code’s meal and rest
12   period standards. Defendants calculate an amount in controversy for combined meal and rest
13   period violations as $16,000. NOR ¶ 15. To reach this number defendants multiplied $16
14   (plaintiff’s alleged hourly rate) by 2 (missed meal/rest periods per workday) by 500 (number of
15   days worked by plaintiff during period at issue).2
16                   Defendants assume plaintiff missed one meal break and one rest break every single
17   day she worked but have not provided any evidence to prove this assumption is reasonable. See
18   NOR ¶ 15; Mot. 17–18. Therefore, defendants here as well have not met their burden to establish
19   meal and rest break violations as a component of the amount in controversy. See Ibarra,
20   775 F.3d at 1199 (“Because the complaint does not allege that [defendant] universally, on each
21   and every shift, violates labor laws by not giving rest and meal breaks, [defendant] bears the
22   burden to show that its estimated amount in controversy relied on reasonable assumptions.”).
23                   4.     Conclusion
24                   Without the amounts reviewed above—$2,250 for waiting time penalties, $4,000
25   for itemized wage statement penalties, and $16,000 for meal and rest break violations—
26   defendants’ estimates of the amounts in controversy for the remaining claims, $62,750 in the
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                $16 X 2 X 500 = $16,000.00
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     Case 2:17-cv-01975-KJM-CKD Document 17 Filed 08/07/18 Page 7 of 10

 1   aggregate, do not exceed $75,000 as required by 28 U.S.C. § 1332(a). The court need not address
 2   them individually. Diversity jurisdiction is not established.
 3          B.       CAFA Jurisdiction
 4                   1.     Waiting Time Penalties
 5                   In its calculation of waiting time penalties under CAFA, defendants also assume
 6   each employee would be entitled to the maximum statutory penalty. NOR ¶¶ 32–34. However,
 7   because defendants have not supported this calculation by a preponderance of the evidence, the
 8   court rejects defendants’ assumption. See Garibay, 539 F. App’x at 764 (rejecting defendants’
 9   assumption that each employee was entitled to maximum statutory penalty because the
10   assumption was not supported by any evidence); see also Carag v. Barnes & Noble, Inc.,
11   No. 2:15-CV-00115, 2015 WL 3706497, at *3, 5 (E.D. Cal. June 11, 2015) (following Ninth
12   Circuit and rejecting defendants’ “assumption of a maximum statutory penalty” for waiting time
13   claim). The court does not consider defendants’ estimate of waiting time penalties, $4,410,000,
14   as part of the amount in controversy for CAFA purposes.
15                   2.     Itemized Wage Statement Penalties
16                   To calculate the penalties for non-compliant wage statements, defendants again
17   assume a 100 percent violation rate. NOR ¶¶ 16, 35–38. Defendants represent they “issued more
18   than 14,800 wage statements to approximately 1,480 nonexempt, hourly employees employed in
19   California.” Id. ¶ 38. They then multiply 1,480 by $50, which is the penalty for violations within
20   the initial pay period, and add that sum to 13,3203 multiplied by $100, which is the penalty for
21   subsequent wage statement violations. Id. Thus, defendants calculate a total amount in
22   controversy for this claim to be $1,406,0004, which is the maximum penalty possible under
23   California Labor Code 226(e).
24                   Similar to the calculation for wait time penalties, however, the assumption that
25   each class member will recover the maximum penalty for each pay period is not supported by
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                14,800 wage statements – 1,480 employees = 13,320 subsequent wage statements.
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                (1,480 X $50) + (13,320 X $100) = $1,406,00.00
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     Case 2:17-cv-01975-KJM-CKD Document 17 Filed 08/07/18 Page 8 of 10

 1   solid evidence. See Garibay, 539 F. App’x at 764 (finding similar calculation assuming “every
 2   single member of the class would be entitled to recover penalties for every single pay period” was
 3   not supported by evidence and could not be used to calculate amount in controversy). Defendants
 4   have provided insufficient evidence to meet their heightened burden for the itemized wage
 5   statement penalties.
 6                   3.     Meal and Rest Break Violations
 7                   For plaintiff’s CAFA claim based on violation of the California Labor Code’s
 8   meal and rest period standards, defendants calculate an amount in controversy for meal period
 9   violations of $362,600 and for rest period violations also of $362,600. NOR ¶ 43. To reach this
10   number, defendants use a calculation similar to that they used for the overtime violations. Id. For
11   each claim, defendants multiply $12.25 (the average hourly rate for putative class members) by 1
12   (missed meal/rest period per workweek) by 29,600 (number of weeks worked by putative class
13   during the period at issue).5 Thus, for meal and rest period violations combined, defendants
14   calculate a total amount in controversy of $725,200.6
15                   These calculations, with the accompanying explanation and declarations, sufficed
16   under the low burden of proof in effect at the time of removal. See Dart Cherokee, 135 S. Ct. at
17   551, 554 (holding defendant’s “plausible allegation that the amount in controversy exceeds the
18   jurisdictional threshold” was sufficient and notice of removal “need not contain evidentiary
19   submissions”). Defendants then needed to provide only a “short and plain” statement, and they
20   did that. Id. at 553 (“By design, § 1446(a) tracks the general pleading requirement stated in Rule
21   8(a) of the Federal Rules of Civil Procedure.”).
22                   Here as well, however, viewed in light of the higher burden imposed by plaintiff’s
23   challenge, Veliz’s declaration is “speculative and self-serving” because it “sets forth only the
24   number of employees during the relevant period, the number of pay periods, and general
25   information about hourly employee wages.” Garibay, 539 F. App’x at 764; see also Farley v.
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                $12.25 X 29,600 X 1 = $362,600.00
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            6
                $362,600.00 + $362,600.00 = $725,200.00
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     Case 2:17-cv-01975-KJM-CKD Document 17 Filed 08/07/18 Page 9 of 10

 1   Dolgen California LLC, NO. 2:16-CV-02501-KJM, 2017 WL 3406096, at *3 (finding similar
 2   declarations to be “speculative and self-serving”); Page v. Luxottica Retail N. Am., Inc., No. 2:13-
 3   CV-01333-MCE, 2015 WL 966201, at *4 (E.D. Cal. Mar. 4, 2015) (“Courts have been skeptical
 4   of high CAFA estimates that rely solely on declarations with non-specific human resource data.”).
 5   The two additional declarations signed by Sheila Cotton and Joseph Roark and provided by
 6   defendants in their opposition, ECF No. 8-2; ECF No. 8-3, are similarly generalized, reiterating
 7   the same sorts of information set forth in Veliz’s declaration and in some cases drawing broad
 8   conclusions based on information and belief; therefore, this court does not consider defendants’
 9   calculation, which relies on the Veliz, Cotton, and Roark declarations, as part of the amount in
10   controversy.
11                   4.     Attorney’s Fees
12                   For CAFA purposes, defendants also combine the award estimates to form the
13   baseline for their attorney’s fees calculation. Applying the Ninth Circuit’s twenty-five percent
14   benchmark for reasonable attorney’s fees in class action cases, defendants estimate $1,771,275 as
15   the amount of plaintiff’s attorney’s fees.7 See Hanlon v. Chrysler Corp., 150 F.3d 1011, 1029
16   (9th Cir. 1998) (“The circuit has established 25% of the common fund as a benchmark award for
17   attorney fees.”). But because there is insufficient evidence to establish defendants’ award
18   estimates upon which any attorney’s fees would be based, there is also insufficient evidence to
19   establish defendants’ $1,771,275 attorneys’ fees estimate for purposes of assessing the amount in
20   controversy.
21                   5.     Conclusion
22                   Without these amounts—$4,410,000 for waiting time penalties, $1,406,000 for
23   itemized wage statement penalties, $725,200 for meal and rest break violations, and
24   $1,771,275.00 for attorneys’ fees—defendants’ estimates of the amount in controversy for the
25   remaining claims, $543,900, does not come close to the $5 million required for CAFA
26   jurisdiction to adhere, so the court need not address those other amounts separately. Abrego
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                $7,085,100.00 X .25 = $1,771,275.00
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     Case 2:17-cv-01975-KJM-CKD Document 17 Filed 08/07/18 Page 10 of 10

 1    Abrego v. The Dow Chem. Co., 443 F.3d 676, 678 (9th Cir. 2006) (“Prominent among the
 2    requirements in these specified [CAFA] paragraphs [is] that the aggregate amount in controversy
 3    must exceed $5,000,000.”).
 4    IV.    CONCLUSION
 5                  Defendants have failed to meet their burden to establish federal jurisdiction based
 6    either on diversity or CAFA. The court therefore GRANTS plaintiff’s motion to REMAND to
 7    Sacramento County Superior Court.
 8                  This case is CLOSED.
 9                  IT IS SO ORDERED.
10    DATED: August 6, 2018.
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12                                                    UNITED STATES DISTRICT JUDGE
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